                          UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF WISCONSIN


UNITED STATES OF AMERICA,

                            Plaintiff,

       v.                                            Case No. 21-CR-5 (BHL)

JOHN D. WHELAN,

                            Defendant.


   UNITED STATES’ COMBINED MOTION FOR COMPETENCY HEARING &
     PSYCHIATRIC EXAMINATION / RESPONSE TO INSANITY NOTICE


       The United States of America, by and through its attorneys, Gregory J. Haanstad,

United States Attorney, and Julie Stewart and Kevin Knight, Assistant United States

Attorneys, hereby respectfully submits this combined (i) motion for a competency

hearing (pursuant to Title 18, United States Code, Section 4241) and psychiatric

examination (pursuant to Title 18, United States Code, Sections 4241 and 4242) and (ii)

response to Defendant John D. Whelan’s Notice of Intention to Raise Insanity Defense

and/or Expert Testimony of Defendant’s Mental Condition Pursuant to Rule 12.2. See

Dkt. No. [65] (hereinafter the “Notice”).

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       Defendant Whelan’s Notice is untimely.

       Federal Rule of Criminal Procedure 12.2(a) provides, in pertinent part, that a

defendant must submit written notice of an insanity defense “within the time provided




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for filing a pretrial motion[.]” Pretrial motions were due in this case on June 25, 2021. See

Dkt. No. [14]. Defendant Whelan first sent government counsel written notice of his intent

to raise an insanity defense over a year later, on October 25, 2022. 1

        But the Court should forgo ruling on the Notice’s timeliness for now, because there

is a more immediate problem. In written correspondence with government counsel, Dr.

Gerald Shiener—an expert witness retained by Defendant Whelan—notes that, in his

opinion, Defendant Whelan is not competent to stand trial.

        The defendant’s competency is a first-order question that must be resolved before

the Court can address the viability of any affirmative defenses, including insanity.

        The government therefore requests that the Court (i) set a counsel-only status

conference in the coming days to discuss these issues, schedule a competency hearing,

and confer regarding a new potential trial date; (ii) order a psychiatric examination of

Defendant Whelan, to be conducted by the Bureau of Prisons and completed prior to the

requested competency hearing, to determine both Defendant Whelan’s competency and

his capacity to understand the nature and quality or the wrongfulness of his conduct; and

(iii) forego ruling on the Notice’s timeliness until Defendant Whelan’s competency

hearing is completed.

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  To be sure, Rule 12.2’s timing requirement contains an exception for “good cause.” Defendant Whelan
suggests good cause exists because the government recently returned certain funds to him, and he needed
those funds to retain Dr. Shiener. See Dkt. No. [65]. This argument misses the mark because, inter alia, an
examination is not required before filing a notice under Rule 12.2(a). In any event, the Court should not
decide now whether the “good cause” exception applies, given the parallel competency concerns discussed
here.

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I.     Background

       Defendant Whelan (a medical doctor) and his co-defendant Tina Montezon (a

nurse) saw “patients” at a fraudulent “clinic” set up in Defendant Montezon’s house on

Saturdays beginning in 2018. At this fraudulent “clinic,” the defendants collected cash in

exchange for prescriptions for controlled substances. Individuals were given these

prescriptions without any medical analysis and without a physical or mental

examination. Indeed, some individuals simply picked up pre-signed prescriptions in

exchange for cash without seeing Defendant Whelan at all. For his part, Defendant

Whelan deposited approximately $285,000 in proceeds generated from this fraudulent

“clinic” into his personal bank accounts from January 2018 to October 2020.

       Given that misconduct, the defendants were indicted for conspiring to distribute

controlled substances outside the course of a professional medical practice and not for a

legitimate medical purpose, in violation of 21 U.S.C. §§ 841(a)(1), 841(b)(1)(C), and 846;

maintaining a drug-involved premises, in violation of 21 U.S.C. § 856(a)(1); and making

false statements to federal agents, in violation of 18 U.S.C. § 1001. See Dkt. No. [1]. They

were arraigned in January 2021 and pled not guilty. See Dkt. No. [5].

       Magistrate Judge Nancy Joseph then designated the case complex, Dkt. No. [9],

and set a pretrial motions deadline of June 25, 2021, Dkt. No. [14].

       No motions were filed by this June 2021 deadline, and the referral to Magistrate

Judge Joseph ended on July 13, 2021. See Minute Entry of 7/13/2021.

       After some false starts relating to expert witness issues, this Court set a trial date

of February 27, 2023. See Dkt. No. [62].

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       On October 25, 2022, Defendant Whelan’s counsel sent government counsel

correspondence expressing Defendant Whelan’s intention to raise an insanity defense at

trial. Appended to defense counsel’s letter was a report by Dr. Gerald Shiener, who

concluded that (i) Defendant Whelan was not able to understand the nature and quality

or wrongfulness of the misconduct described in the indictment; and (ii) Defendant

Whelan was not competent to stand trial in this matter.

       The parties conferred regarding this correspondence on October 26, 2022, and

October 31, 2022.

       On October 31, 2022, Defendant Whelan’s counsel filed the Notice, which reflects

his intention to raise an insanity defense at trial. See Dkt. No. [65]. The Notice does not

address Dr. Shiener’s conclusion that Defendant Whelan is not competent to stand trial.

Id.

       On November 1, 2022, the Court asked the government to file a response to the

Notice. See Dkt. No. [66]. The government was specifically instructed to address whether

it objects to the Notice as untimely and what effect, if any, the Notice has on the February

2023 trial date. Id.

       This combined submission follows.

II.    Argument

       As more fully explained below, the government believes that the Court should (i)

set a counsel-only status conference in the coming days to discuss these issues, schedule

a competency hearing, and confer regarding a new potential trial date; (ii) order a

psychiatric examination of Defendant Whelan, to be conducted by the Bureau of Prisons

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and completed prior to the requested competency hearing, to determine both Defendant

Whelan’s competency and his capacity to understand the nature and quality or the

wrongfulness of his conduct; and (iii) forego ruling on the Notice’s timeliness until

Defendant Whelan’s competency hearing is completed.

A.     The Law of Competency

       The Court “may not put a criminal defendant on trial unless he is competent at the

time of trial.” United States v. Wessel, 2 F.4th 1043, 1053 (7th Cir. 2021). Competency, at

bottom, is concerned with whether the defendant “has sufficient present ability to consult

with his lawyer with a reasonable degree of rational understanding—and whether he has

a rational as well as factual understanding of the proceedings against him.” Id. (internal

quotation omitted). The “procedure and test for evaluating competency are codified at 18

U.S.C. § 4241.” Id.

       Section 4241 provides that after the commencement of a prosecution, government

counsel may move for a hearing to determine the defendant’s mental competency. See 18

U.S.C. § 4241(a). At that point, the Court “shall” grant the motion for a competency

hearing if there is “reasonable cause” to believe that the defendant is not competent. Id.

       Prior to the hearing the Court “may” order that a psychiatric or psychological

examination be conducted and that a related report be filed with the Court. See 18 U.S.C.

§ 4241(b). The examiner should be asked for their opinion as to whether the defendant is

suffering from a mental disease or defect, rendering the defendant mentally incompetent

to understand the nature and consequences of the proceedings against him or to assist




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properly in his defense. The examiner’s report must include all the information required

by 18 U.S.C. § 4247(c)(1) through (c)(4).

       To secure a Section 4241 competency examination, the Court may, if necessary,

order the defendant committed to a suitable hospital or facility for a reasonable period

not to exceed thirty days, even if the defendant is not otherwise confined. See 18 U.S.C.

§ 4247(b).

       After the examiner’s report is submitted, the Court should hold an evidentiary

hearing, to be conducted pursuant to the provisions of 18 U.S.C. § 4247(d). If the Court

finds by a preponderance of the evidence that the defendant “is presently suffering from

a mental disease or defect rendering him mentally incompetent . . . the court shall commit

the defendant” to the Attorney General’s custody so that competency might be restored.

Id. at § 4241(d) (emphasis added).

B.     The Law of Insanity

       It is an affirmative defense to the instant charges if Defendant Whelan can

establish, by clear and convincing evidence, that he was unable to appreciate the nature

and quality or the wrongfulness of his acts because of a severe mental disease or defect.

See 18 U.S.C. § 17(a).

       A defendant seeking to invoke this “insanity defense” must first file a notice under

Federal Rule of Criminal Procedure 12.2(a). If a Rule 12.2(a) notice has been filed, and the

government moves for an examination under 18 U.S.C. § 4242, the Court “shall” order a

Section 4242 psychiatric examination.




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       Similarly, when a defendant provides notice of an intent to introduce expert

evidence relating to the defendant’s mental condition under Federal Rule of Criminal

Procedure 12.2(b), the court “may,” upon motion of the government, order the defendant

examined under procedures ordered by the court. See Fed. R. Crim. P. 12.2(c)(1).

       In either case, the examiner should be asked to give their opinion as to whether, at

the time of the acts charged, the defendant was unable to appreciate the nature and

quality or the wrongfulness of their acts because of a severe mental disease or defect. And

here again, the examiner should be requested to include in their report all the information

required by 18 U.S.C. § 4247(c).

C.     The Court Must Order a Competency Hearing for Defendant Whelan

       Dr. Shiener—an expert retained by Defendant Whelan—has concluded that

Defendant Whelan “is not competent to stand trial.”

       Dr. Shiener’s opinion constitutes “reasonable cause” to doubt Defendant Whelan’s

competency, and the United States accordingly moves for a competency hearing under

Section 4241.

       A competency hearing is therefore required. See 18 U.S.C. § 4241(a).

D.     The Court Must Order a Section 4242 Examination of Defendant Whelan—and
       That Examination Should Also Address Defendant Whelan’s Competency
       Under Section 4241

       Given Defendant Whelan’s Notice, the United States also moves for a Section 4242

examination. And here again, the Court must order the same, to determine whether

Defendant Whelan understood the nature and quality or wrongfulness of his conduct.

See 18 U.S.C. § 4242(a).

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       The government further requests that the Court order that this required Section

4242 examination also address Dr. Whelan’s competency under Section 4241.

       To be clear, while a simultaneous Section 4241 competency examination is not

technically required by statute, that request makes good sense because (i) it would not

implicate substantial additional resources; and (ii) the Court would benefit from the

requested competency analysis prior to the required Section 4241 competency hearing.

See United States v. Wessel, 2 F.4th 1043, 1059 (7th Cir. 2021) (“commend[ing]” district

judge for, inter alia, “order[ing] multiple evaluations and competency hearings”); United

States v. Martinez-Haro, 645 F.3d 1228, 1233 (10th Cir. 2011) (“prudent for the district court

to order an additional competency examination”); see also Benchbook for U.S. District Court

Judges, Section 1.12 (Federal Judicial Center March 2013) (noting that the court “probably

should” order a competency evaluation once reasonable cause to doubt the defendant’s

competency has been established).

       Such an order would also comport with the practice, in this circuit, of addressing

a defendant’s competency prior to a trial implicating the insanity defense. See, e.g., United

States v. Ewing, 494 F.3d 607, 622–23 (7th Cir. 2007) (describing how district court

appropriately relied on a competency evaluation completed one week before a trial

wherein defendant advanced an insanity defense).

III.   Conclusion

       By the government’s lights, the Court should (i) set a counsel-only status

conference in the coming days to discuss these issues, schedule a competency hearing,

and confer regarding a new potential trial date; (ii) order a psychiatric examination of

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Defendant Whelan, to be conducted by the Bureau of Prisons and completed prior to the

requested competency hearing, to determine both Defendant Whelan’s competency and

his capacity to understand the nature and quality or the wrongfulness of his conduct; and

(iii) forego ruling on the Notice’s timeliness until Defendant Whelan’s competency

hearing is completed.

      Dated at Milwaukee, Wisconsin, this 11th day of November, 2022.

                                         Respectfully submitted,

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                                         United States Attorney

                                  By:    /s Kevin Knight

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